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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF DELAWARE


    CRYSTALLEX INTERNATIONAL
    CORPORATION,

                 Plaintiff,

    v.                                                     Case No. 17-mc-151-LPS
    BOLIVARIAN REPUBLIC OF
    VENEZUELA,

    Defendant.


          SIX CREDITORS’ RESPONSE TO THE SPECIAL MASTER’S MOTION
         REQUESTING AMENDMENT OF CERTAIN PRIORITY ARRANGEMENT
                               PROCEDURES

         OI European Group B.V. (“OIEG”); Northrop Grumman Ship Systems, Inc., f/k/a Ingalls

Shipbuilding, Inc., and now known as Huntington Ingalls Incorporated (“Huntington Ingalls”);

ACL1 Investments Ltd., ACL2 Investments Ltd., and LDO (Cayman) XVIII Ltd. (together,

“ACL”); Rusoro Mining Limited; Koch Minerals Sàrl (“KOMSA”) and Koch Nitrogen

International Sàrl (“KNI,” and, together with KOMSA, the “Koch Parties”); and Gold Reserve

Inc. (collectively, the “Six Creditors”) hereby submit this response to the Special Master’s Motion

Requesting Amendment of Certain Priority Arrangement Procedures (D.I. 928) (the “Motion”).1

                                          RESPONSE

         The Motion requests that the Priority Arrangement Procedures be amended in either of two

ways: (1) that creditors be given two business days to deliver the Required Materials to the U.S.

Marshal, and the Court deem the writs to have been delivered in the order of the creditors’



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 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
such terms in the Motion.

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judicially established priority (Motion at ¶¶ 9-11) (the “Two-Day Approach”), or (2) that creditors

deliver the Required Materials to the U.S. Marshal at the courthouse on a single day in the order

of their judicially established priority (Motion at ¶ 12) (the “One-Day Approach”).

       The Six Creditors do not oppose the Motion, but file this response to express their

collective preference for the One-Day Approach given that it merely expedites the Priority

Arrangement Procedures that the Court has already ordered.

       The undersigned Six Creditors have all obtained conditional writs of attachment and thus

have completed Steps 1 through 5 prescribed by the Court in its July 27 Order. See D.I. 743, 744,

748, 754, 756, 757. This Court recently (on January 8, 2024) designated each of the Six Creditors

as “Additional Judgment Creditors” under the Sale Procedures Order. See D.I. 838. Additionally,

the Six Creditors have been listed in the Special Master’s Steps Chart without modification since

the first chart was filed. See, e.g., D.I. 789-1, 870-1.

       As noted in the Motion, the Step 7 (Perfected Writ) Deadline is currently set for April 11,

2024. See Motion at ¶ 4. Under the existing Priority Arrangement Procedures, there is no reason

that the Six Creditors’ writs cannot be issued and perfected prior to April 11, 2024 – thus, the Six

Creditors file this response as a reservation of rights to the extent that the Motion seeks to modify

any of the Six Creditors’ priority rankings or their ability to perfect their respective writs in

accordance with the Steps Chart, the Sale Procedures Order and the related orders fixing certain

deadlines related thereto. While the Six Creditors would prefer that the perfection steps proceed

immediately as originally contemplated by the Priority Arrangement Procedures, the Six Creditors

understand that the existing Priority Arrangement Procedures create a timeframe that could result

in lower-priority creditors being perfected after the Step 7 (Perfected Writ) Deadline.




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       Consistent with the Court’s recently-stated desire not to “defeat the carefully constructed

priority perfection process set forth in the [July 27 Order] and [October 11 Order] . . . which

adopted the priority arrangement procedures outlined” in the Special Master’s August 24 Report,

and with the Court “see[ing] no sound reason to short circuit that process,” see D.I. 838 (internal

quotations omitted), the Six Creditors suggest that if this Court grants the Motion it should adopt

the alternative “One-Day Approach” procedure proposed by the Special Master. See Motion at ¶

12. It is the Six Creditors’ belief that this alternative (where each Additional Judgment Creditor

would arrive at the Court on the same day to deliver the Required Materials to the U.S. Marshal in

the order set forth in the Priority Order) is more consistent with existing Priority Arrangement

Procedures. Furthermore, the Six Creditors would suggest that (1) delivery to the U.S. Marshal be

done on the record with the Court presiding, which will likely lead to a more efficient and orderly

process, and (2) service by the U.S. Marshal on the Special Master then proceed in the same

priority order in the courtroom on that same date or shortly thereafter.




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Dated: February 8, 2024

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